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July 15, 2022

The Honorable Christopher R. Cooper

United States District Judge

United States District Court for the District of Columbia
333 Constitution Avenue N.W.

Washington D.C. 20001

Your Honor,

First and foremost, | would like to use this platform to thank you for taking the time to read the
letters submitted in support of my husband, Thomas Robertson. | am aware that there are many
important documents to review for this case, and | sincerely appreciate the time you have allotted to
consider the opinions put forth in these letters; just as | appreciate the time taken by any individual who
has written in, to consider the issue at hand and formulate a response. | recognize that this is no small
matter which has been put forth before our local community, the court, and the nation.

The purpose of my letter is not to attempt to speak on my husband’s behalf in this matter. My
understanding is that he will be able to present his own letter to you, this in addition to the information
presented in the pre-sentence report that will also be put before you. | hope both of these documents
present a concise view of his circumstances, actions and opinions. | also do not wish to overwhelm you
with endless antidotes on his previous good deeds and good heart. | am hoping his previous work
commendations and news articles, in addition to character letters, outlining his past actions that were
forwarded to Mr. Rollins for your review will allow you to form that opinion for yourself. My intent is to
express some of my own opinions regarding his potential release. As of the current hearing date, August
11, 2022, he will have been incarcerated for a little over thirteen months. Regardless of the
circumstances that led to this lengthy incarceration, this time has allowed for ample contemplation.
Nothing but contemplation really, as he has served his time in solitary confinement.

As an undergraduate and graduate student of criminal justice, with a special interest in legal
investigations and correctional reform, | continue to hold out hope that the future of the American
criminal justice system will move forward in a more rehabilitative vein, rather than a punitive one. This
is my wish for our fellow community members who struggle with substance addiction, for those stuck in
generational poverty that leaves them feeling crime is their only opportunity to get ahead, and for those
whose mental health concerns result in actions they may not have typically considered if they were in
full control of their faculties. This is my wish for my husband. There are no opportunities at his current
holding facility for further education or to learn new skills, and despite this, my husband will still have to
re-evaluate his personal identity and recreate himself in order to move forward and be a contributing
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member to our society. All he has known, law enforcement and the military, are no longer lifestyles or
careers he can pursue. | think it would be advantageous to be able to start this process as soon as
possible. Furthermore, there are also little to no mental health services at his current holding facility.

If he were to be allowed to come home, even on house arrest, | believe we could start to funnel
our resources constructively, with the end goal of him once again being an asset to our community in
whatever capacity is available to him. He has mentioned an interest in expanding his knowledge on
emergency medicine. Mr. Rollins, has suggested he study law. We have a hobby farm we hope to
expand in the future, with an agricultural college fifteen minutes from our home if he decided to explore
that route. He wishes to obtain employment, and our community is inundated with the need for
community service volunteers. He is interested in working with me on a start-up canine non-profit
opportunity | have been a part of for a year now. He has many productive options which | will support,
and even facilitate, based on the terms of his release conditions. He would also be able to continue his
established mental health services through the Salem, VA Veteran’s Affairs Medical Center to address
stress, anxiety, and his Post Traumatic Stress Disorder.

| have made an extensive effort to anticipate possible post-release court directives to ensure
compliance from the get-go. I, unfortunately, made the decision to accept employment in New York last
summer and was not present to be supportive, or a sounding board, which | now see he desperately
needed as he sought to cope with his personal and legal circumstances. That will not be a concern again
if he is allowed home. This would be a therapeutic opportunity for him. While his best interests are of
course my main priority, | hope that everyone present on January 6" at the Capitol — officer, staff
member, member of the public — will be able to find a modicum of peace as they look to heal from their
experiences. So, | would ask you, kindly and appreciatively, to thoughtfully consider a possible return
home so he can Start his own healing and rebuilding process.

Sincerely,

Samantha Robertson
